            Case 2:12-cr-00250-GEB Document 169 Filed 12/05/17 Page 1 of 2


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 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,              )   CASE NO.   12-CR-00250 - GEB
                                          )
11                           Plaintiff,   )
                                          )
12                                        )
     v.                                   )
13                                        )   [PROPOSED] STIPULATION AND ORDER TO
                                          )   CONTINUE JUDGEMENT AND SENTENCING
14 XAVIER JOHNSON,                        )
                                          )
15                           Defendant.   )
                                          )
16 __________________________________     )

17

18        IT IS HEREBY STIPULATED by and between the parties hereto through their

19 respective counsel, Matthew Morris, Assistant United States Attorney, attorney for
20 plaintiff; Timothy Delgado, Assistant United States Attorney, attorney for

21 plaintiff; Kyle Knapp, attorney for defendant, XAVIER JOHNSON, that the previously

22 scheduled sentencing date of December 8, 2017, be vacated and the matter set for

23 sentencing on December 15, 2017 at 9:00am.

24        This continuance is requested to allow counsel additional time to finalize

25 research on several sentencing memorandum issues relevant to the guideline analysis.

26 I have contacted Mr. Delgado, Mr. Morris and Ms. Morehouse and they have no
27 objection to the continuance.

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             Case 2:12-cr-00250-GEB Document 169 Filed 12/05/17 Page 2 of 2

          In light of the above request the following revised sentencing schedule is
 1
     requested - Judgement and Sentencing – December 15, 2017; Reply or Statement of Non
 2
     Opposition to Motion to Correct PSR/Formal Objections due December 8, 2017; the
 3
     final PSR and formal objections have been filed.
 4
     Dated: December 1, 2017                   Respectfully submitted.
 5

 6                                                          /s/ Kyle R. Knapp

 7                                                      Kyle R. Knapp
                                                        Attorney for Defendant, Xavier
 8                                                      Johnson

 9 Dated: December 1, 2017                     Respectfully submitted.
10
                                                            /s/ Matthew Morris
11                                                      Matthew Morris
                                                        Assistant U.S. Attorney
12                                                      Attorney for Plaintiff

13 Dated: December 1, 2017                     Respectfully submitted.

14
                                                            /s/ Timothy Delgado
15                                                      Timothy Delgado
                                                        Assistant U.S. Attorney
16                                                      Attorney for Plaintiff

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18 IT IS SO ORDERED.

19 Dated: December 5, 2017
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     12-CR-00250-GEB
